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                   IN THE UNITED STATES DISTRICT COURT FOR
                      THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

In re: TESTERONE
REPLACEMENT THERAPY                                    MDL No. 2545
PRODUCTS LIABILITY LITIGATION
                                                       Master Docket Case No. 1:14-cv-01748
THIS DOCUMENT RELATES TO:
                                                       Honorable Matthew F. Kennelly
Damon Aaron v. AbbVie Inc., et al.,
Case No. 1:16-cv-01189
John D. and Allyson Adkins v. Auxilium
Pharmaceuticals, Inc., et al.,
Case No. 1:15-cv-05747
James Alford v. AbbVie Inc., et al.,
Case No. 1:15-cv-09052
Theodore E. and Carol A. Allen v. Endo
Pharmaceuticals Inc., et al.,
Case No. 1:16-cv-00201
Marvin Ballard v. Endo Pharmaceuticals Inc., et al.,
Case No. 1:16-cv-01841
John Brinson v. AbbVie Inc., et al.,
Case No. 1:16-cv-08974
Toby Brister v. Endo Pharmaceuticals Inc., et al.,
Case No. 1:15-cv-03570
Donald Burns v. Endo Pharmaceuticals Inc., et al.,
Case No. 1:14-cv-10376
Michael and Patricia Casey v. Endo
Pharmaceuticals Inc., et al.,
Case No. 1:16-cv-01371
Laura L. Fisher, as the Surviving Spouse and
heir of Jeffery Fisher v. Endo Pharmaceuticals Inc.,
Case No. 1:16-cv-00306
Bobby and Marsha Giles v. Auxilium
Pharmaceuticals, Inc., et al.,
Case No. 1:15-cv-05370
Steven and Linda Hebert v. Auxilium
Pharmaceuticals, Inc., et al.,
Case No. 1:14-cv-09321
Jerome and Yvonne Hogan v. AbbVie Inc., et al.,
Case No. 1:15-cv-06883
Robert L. Humble v. AbbVie Inc., et al.,
Case No. 1:14-cv-06324



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Catherine Munson, Individually and as Surviving
Spouse of Luther, Deceased v. Endo
Pharmaceuticals Inc., et al.,
Case No. 1:16-cv-03430
Clement Nweke v. Endo Pharmaceuticals Inc., et al.,
Case No. 1:16-cv-00059
Robert Pitts v. Eli Lilly & Company, et al.,
Case No. 1:16-cv-06080
Sherry Pudelek, Individually and as Special
Administrator of the Estate of James Pudelek
v. Auxilium Pharmaceuticals, Inc., et al.,
Case No. 1:15-cv-11718
Domingo and Michelle Rivera v. Endo
Pharmaceuticals Inc., et al.,
Case No. 1:16-cv-06087
Samuel Rivera v. Endo Pharmaceuticals Inc., et al.,
Case No. 1:15-cv-10957
Gary Rush v. Endo Pharmaceuticals Inc.,
Case No. 1:17-cv-03286
James Ryan v. Auxilium Pharmaceuticals, Inc.,
et al.,
Case No. 1:17-cv-00711
Marc D. Still v. Endo Pharmaceuticals Inc., et al.,
Case No. 1:15-cv-08867
Sandra Tollett, as anticipated Personal Representative
of the Estate of Lonnie Tollett v. Endo
Pharmaceuticals Inc., et al.,
Case No. 1:16-cv-01157
Robert Wall v. Auxilium Pharmaceuticals, Inc., et al.,
Case No. 1:16-cv-00669
Kenneth Wilson v. Endo Pharmaceuticals Inc., et al.,
Case No. 1:17-cv-00151
Tyrone Wright v. Endo Pharmaceuticals Inc., et al.,
Case No. 1:15-cv-04909
Stephen N. Young and Maggie Rogers v. Abbott
Laboratories, et al.,
Case No. 1:15-cv-08252

                  CASE MANAGEMENT ORDER NO. 151 -
CLARIFYING THE DEADLINE TO COMPLY WITH CASE MANAGEMENT ORDER
  NO. 126 FOR PLAINTIFFS DEEMED INELIGIBLE FOR THE CONFIDENTIAL
         MASTER SETTLEMENT BY SPECIAL MASTER RANDI ELLIS

       This matter is before the Court on the Endo Defendants’ Motion For A Case Management

Order Clarifying The Deadline To Comply With Case Management Order No. 126 For Plaintiffs

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Deemed Ineligible For The Confidential Master Settlement By Special Master Randi Ellis, filed

April 24, 2019.

       It is hereby ordered that counsel of record for each Plaintiff identified on Exhibit A below

have until July 29, 2019, 90 days from the entry of this Order to either: (a) file a stipulation

dismissing the Endo Defendants with prejudice; or (b) comply with the CMO 126 obligations of

paragraphs B.9. and B.10.

       Plaintiffs’ counsel are directed to immediately advise their clients in writing of this order

and to verify their compliance in writing in the individual case docket.

       Status report regarding whether something was filed by each plaintiff is to be filed by

counsel for Endo by August 5, 2019.



IT IS SO ORDERED.

Dated: 4/30/2019

                                                       _________________________________
                                                       MATTHEW F. KENNELLY
                                                       UNITED STATES DISTRICT JUDGE




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Exhibit A

                                   Plaintiff   Plaintiff
       Current                                                   Endo           Plaintiff’s
                        Date Filed   Last       First
      Docket Info                                              Defendants        Counsel
                                    Name        Name
     Illinois,          1/26/2016 Aaron      Damon           Endo
     Northern                                                Pharmaceuticals
     District - 1:16-                                        Inc.; Auxilium
1.   cv-01189                                                Pharmaceuticals
                                                             Inc.;              Pierce
                                                             GlaxoSmithKline    Skrabanek
                                                             LLC                PLLC
     Illinois,          6/29/2015   Adkins    John D. and    Endo
     Northern                                 Allyson        Pharmaceuticals    Schachter,
2.   District - 1:15-                                        Inc.; Auxilium     Hendy &
     cv-05747                                                Pharmaceuticals,   Johnson
                                                             Inc                PSC
     Illinois,          10/13/2015 Alford     James          Endo
     Northern                                                Pharmaceuticals
     District - 1:15-                                        Inc.; Auxilium
3.   cv-09052                                                Pharmaceuticals
                                                             Inc.;              Shamberg
                                                             GlaxoSmithKline    Johnson &
                                                             LLC                Bergman
     Illinois,          1/8/2016    Allen     Theodore E.    Endo
     Northern                                 and Carol A.   Pharmaceuticals
     District - 1:16-                                        Inc.; Auxilium
4.   cv-00201                                                Pharmaceuticals
                                                             Inc.;              Simmons
                                                             GlaxoSmithKline    Hanly
                                                             LLC                Conroy
     Illinois           2/1/2016    Ballard   Marvin         Endo
     Northern                                                Pharmaceuticals
     District - 1:16-                                        Inc.; Auxilium
5.   cv-01841                                                Pharmaceuticals
                                                             Inc.;
                                                             GlaxoSmithKline    Robins
                                                             LLC                Cloud LLP
     Illinois,          9/15/2016   Brinson   John           Endo
     Northern                                                Pharmaceuticals
6.   District - 1:16-                                        Inc.; Auxilium
     cv-08974                                                Pharmaceuticals,   Seeger
                                                             Inc                Weiss LLP




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                                      Plaintiff   Plaintiff
        Current                                                     Endo           Plaintiff’s
                         Date Filed     Last        First
       Docket Info                                                Defendants        Counsel
                                       Name        Name
      Illinois,          4/23/2015    Brister   Toby           Endo
      Northern                                                 Pharmaceuticals
7.
      District - 1:15-                                         Inc.                Ball &
      cv-03570                                                                     Bonholtzer
      Illinois,          12/28/2014 Burns       Donald         Endo
      Northern                                                 Pharmaceuticals     Douglas &
8.
      District - 1:14-                                         Inc.                London,
      cv-10376                                                                     P.C.
      Illinois,          1/28/2016    Casey     Michael and    Endo
      Northern                                  Patricia       Pharmaceuticals
9.    District - 1:16-                                         Inc.; Auxilium
      cv-01371                                                 Pharmaceuticals,    Seeger
                                                               Inc                 Weiss LLP
    Illinois,            1/11/2016    Fisher    Laura Fisher,  Endo
    Northern                                    as the         Pharmaceuticals
    District - 1:16-                            Surviving      Inc.                Gori Julian
10.
    cv-00306                                    Spouse and                         &
                                                Heir of Jeffery                    Associates,
                                                Fisher                             P.C.
    Illinois,            6/18/2015    Giles     Bobby and       Auxilium
    Northern                                    Marsha          Pharmaceuticals,
11. District - 1:15-                                            Inc.;
    cv-05370                                                    GlaxoSmithKline    Sill Law
                                                                LLC                Group
      Illinois,          11/5/2014    Hebert    Steven and      Auxilium
      Northern                                  Linda           Pharmaceuticals,
12.
      District -1:14-                                           Inc.               Locks Law
      cv-09321                                                                     Firm
      Illinois,          8/6/2015     Hogan     Jerome and     Endo
      Northern                                  Yvonne         Pharmaceuticals
13.
      District - 1:15-                                         Inc.                Seeger
      cv-06883                                                                     Weiss LLP
      Illinois,          7/31/2014    Humble    Robert L.      Auxilium            Stueve
      Northern                                                 Pharmaceuticals,    Siegel
14.
      District - 1:14-                                         Inc.                Hanson
      cv-06324                                                                     LLP
      Illinois,          3/18/2016    Munson    Catherine,     Endo
      Northern                                  Individually   Pharmaceuticals
      District - 1:16-                          and as         Inc.; Auxilium
15.   cv-03430                                  Surviving      Pharmaceuticals     Stueve
                                                Spouse of      Inc.;               Siegel
                                                Luther,        GlaxoSmithKline     Hanson
                                                Deceased       LLC                 LLP

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                                      Plaintiff    Plaintiff
        Current                                                      Endo           Plaintiff’s
                         Date Filed     Last        First
       Docket Info                                                 Defendants        Counsel
                                       Name         Name
    Illinois,            1/4/2016     Nweke     Clement          Endo
    Northern                                                     Pharmaceuticals
    District - 1:16-                                             Inc.; Auxilium
16. cv-00059                                                     Pharmaceuticals
                                                                 Inc.;
                                                                 GlaxoSmithKline    Robins
                                                                 LLC                Cloud LLP
    Illinois,            6/10/2016    Pitts     Robert           Endo
    Northern                                                     Pharmaceuticals
    District - 1:16-                                             Inc.; Auxilium
17. cv-06080                                                     Pharmaceuticals
                                                                 Inc.;
                                                                 GlaxoSmithKline    Baron &
                                                                 LLC                Budd, P.C.
      Illinois,          12/29/2015 Pudelek     Sherry           Auxilium
      Northern                                  Pudelek,         Pharmaceuticals,
      District - 1:15-                          Individually     Inc.;
      cv-11718                                  and as Special   GlaxoSmithKline
18.
                                                Administrator    LLC
                                                of the Estate                       Meyers &
                                                of James                            Flowers,
                                                Pudelek                             LLC
    Illinois,            6/10/2016    Rivera    Domingo and      Endo
    Northern                                    Michelle         Pharmaceuticals
    District - 1:16-                                             Inc.; Auxilium
19. cv-06087                                                     Pharmaceuticals
                                                                 Inc.;
                                                                 GlaxoSmithKline    Seeger
                                                                 LLC                Weiss LLP
    Illinois,            12/7/2015    Rivera    Samuel           Endo               Levin,
    Northern                                                     Pharmaceuticals    Papantonio,
    District - 1:15-                                             Inc.; Auxilium     Thomas,
20.
    cv-10957                                                     Pharmaceuticals,   Mitchell,
                                                                 Inc                Rafferty &
                                                                                    Proctor
    Illinois,            5/1/2017     Rush      Gary             Endo
    Northern                                                     Pharmaceuticals
21.
    District -1:17-                                              Inc.               Robins
    cv-03286                                                                        Cloud LLP




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                                    Plaintiff   Plaintiff
       Current                                                   Endo           Plaintiff’s
                       Date Filed     Last        First
      Docket Info                                              Defendants        Counsel
                                     Name        Name
    Illinois,          1/30/2017    Ryan      James          Auxilium
    Northern                                                 Pharmaceuticals
22. District - 1:17-                                         Inc.;              Meyers &
    cv-00711                                                 GlaxoSmithKline    Flowers,
                                                             LLC                LLC
    Illinois,          10/6/2015    Still     Marc D.        Endo
    Northern                                                 Pharmaceuticals
    District - 1:15-                                         Inc.; Auxilium
23. cv-08867                                                 Pharmaceuticals
                                                             Inc.;
                                                             GlaxoSmithKline    Jensen &
                                                             LLC                Steffey
    Illinois,          1/26/2016    Tollett   Sandra Tollett Endo
    Northern                                  as anticipated Pharmaceuticals
    District - 1:16-                          Personal       Inc.; Auxilium
24. cv-01157                                  Representative Pharmaceuticals,
                                              of the Estate  Inc
                                              of Lonnie                         Seeger
                                              Tollett                           Weiss LLP
    Illinois,          1/16/2016    Wall      Robert         Auxilium
    Northern                                                 Pharmaceuticals,
25. District - 1:16-                                         Inc.;              Meyers &
    cv-00669                                                 GlaxoSmithKline    Flowers,
                                                             LLC                LLC
    Illinois,          1/9/2017     Wilson    Kenneth        Endo
    Northern                                                 Pharmaceuticals
    District - 1:17-                                         Inc.; Auxilium
26. cv-00151                                                 Pharmaceuticals
                                                             Inc.;
                                                             GlaxoSmithKline    Robins
                                                             LLC                Cloud LLP
    Illinois,          6/4/2015     Wright    Tyrone         Endo
    Northern                                                 Pharmaceuticals
    District - 1:15-                                         Inc.; Auxilium
27. cv-04909                                                 Pharmaceuticals
                                                             Inc.;
                                                             GlaxoSmithKline    Bohrer
                                                             LLC                Brady, LLC
    Illinois,          9/21/2015    Young     Stephen N.     Auxilium
    Northern                                  Young and      Pharmaceuticals,
28.
    District - 1:15-                          Maggie         Inc.               Discepolo
    08252                                     Rogers                            LLP


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